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 1
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 5

 6   ATTORNEY FOR Defendant,
     EDUARDO ZAZUETA GARCIA
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                   ******
11   UNITED STATES OF AMERICA,                            Case No.: 1:12-CR-00344-LJO
12
                    Plaintiff,                            STIPULATION AND ORDER TO
13                                                        CONTINUE SENTENCING
            v.
14                                                        Date: March 30, 2015
     EDUARDO ZAZUETA GARCIA,
15                                                        Time: 8:30 a.m.
                    Defendant.                            Courtroom: 4
16                                                        Hon. Lawrence J. O’Neill

17          Defendant, EDUARDO ZAZUETA GARCIA, by and through his attorney of record,

18   Anthony P. Capozzi and the United States Attorneys by and through Kevin P. Rooney, hereby

19   stipulate as follows:

20          1. By previous order, this matter was set for sentencing on March 30, 2015, at 8:30 a.m.

21          2. The parties agree and stipulate that Defendant requests this court to continue the

22   sentencing until June 15, 2015, at 8:30 a.m.

23          3. Additionally, the parties agree and stipulate, and request that the Court find the

24   following:

25                  a. The Defendant pled guilty on December 1, 2014. Ongoing negotiations have

26          been taking place between the Government and the Defendant. Additional information

27          is needed prior to sentencing which may be completed by June 15, 2015.

28                  b. The defendant has not been debriefed.
                                                         1
                             STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                           CASE NO.: 1:12-CR-00344-LJO
     Case 1:12-cr-00344-JLT-SKO Document 144 Filed 03/26/15 Page 2 of 2
 1                 c. The parties request that Informal Objections be filed on May 26, 2015, and

 2           Formal Objections be filed on June 8, 2015.

 3                   d. The Government does not object to this continuance.

 4   IT IS SO STIPULATED.

 5                                             Respectfully submitted,

 6    DATED:       March 26, 2015        By: /s/Kevin P. Rooney
                                             KEVIN P. ROONEY
 7                                           United States Attorney
 8

 9

10    DATED:       March 26, 2015        By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
11                                           Attorney for Defendant EDUARDO ZAZUETA
                                             GARCIA
12

13

14
                                                 ORDER
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             For reasons set forth above, the continuance requested by the parties is granted for
16
     good cause.
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             The sentencing currently scheduled for March 30, 2015, at 8:30 a.m. is continued to
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     June 15, 2015, at 8:30 a.m. and the Informal Objections be filed on May 26, 2015, and
19
     Formal Objections be filed on June 8, 2015.
20
     IT IS SO ORDERED.
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22       Dated:     March 26, 2015                           /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
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                          STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                        CASE NO.: 1:12-CR-00344-LJO
